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                                                Vaporous Technologies, LLC
                                           10

                                           11                        UNITED STATES DISTRICT COURT
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                                           12                       CENTRAL DISTRICT OF CALIFORNIA
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                                           14 LUBBY HOLDINGS LLC, a Delaware               Case No: 2:18-cv-00715-RGK-JC
                                                limited liability company; VAPOROUS
                                           15 TECHNOLOGIES, INC., a Delaware               PLAINTIFF LUBBY HOLDINGS,
                                           16 corporation;                                 LLC.’S OPPOSITION TO
                                                                                           DEFENDANTS’ COURT
                                           17                Plaintiffs,                   REQUESTED BRIEF REGARDING
                                           18                                              DAMAGES CALCULATIONS
                                                     v.
                                           19                                              Trial Date: May 7, 2019
                                           20 HENRY CHUNG, an individual; MING             Time: 8:30 a.m.
                                              CHEN, an individual; DEEPVAPES, INC.,        Royball
                                           21
                                              a California Corporation d/b/a BOOM
                                           22 VAPORIZER; DOES 1-10, inclusive,

                                           23
                                                             Defendants.
                                           24

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                                           28

                                                    PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ BRIEF REGARDING DAMAGES CALCULATIONS
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                                            1         Plaintiffs Lubby Holdings, LLC and Vaporous Technologies, INC.
                                            2 (“Plaintiffs”) hereby submit this opposition (the “Opposition”) to Defendants’ brief

                                            3 regarding Plaintiffs’ damages calculations (Dkt. No. 49) (the “Brief”) as follows:

                                            4                                     I. INTRODUCTION
                                            5         Plaintiffs apologize to the Court for having to spend its time and resources on

                                            6 this frivolous and unfounded Brief. Plaintiffs sought to engage with Defendants’

                                            7 counsel in good faith meet and confers since Defendants brought up the purported

                                            8 issue (See Declaration of Drew H. Sherman “Dec. of Sherman”). However, every

                                            9
                                                time Plaintiffs’ counsel engaged with Defendants’ counsel regarding clarification

                                           10
                                                as to Defendants’ exact position on the matter and the authority for Defendants’
                                                position, Defendants’ counsel pivoted to different arguments each time and finally
                                           11
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                                                cut off all meet and confer communications with Plaintiffs’ counsel (See Dec. of
                                           12
                                                Sherman).
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                                                      It is telling that Defendants only attached to their brief their counsel’s letters
                                           14
                                                to Plaintiffs’ counsel but did not attach the response from Plaintiffs’ counsel.
                                           15
                                                Indeed, attaching Plaintiff’s counsel’s responses to the meet and confer letters of
                                           16
                                                Defendants’ counsel would show that Defendants have provided this Court with
                                           17
                                                half-truths, mis-direction, fabrications of the record, and red-herrings on this issue;
                                           18
                                                clearly this Brief is the personification of the idiom that “desperate times call for
                                           19
                                                desperate measures.” Defendants’ position on this issue is nothing more than a
                                           20
                                                house of cards that will collapse with a faint breeze.
                                           21
                                                      Plaintiffs are baffled by this “motion,” especially since they kept requesting
                                           22
                                                Defendants clarify their position on this issue and provide the authority upon which
                                           23
                                                the Defendants rely (See Dec. of Sherman).            Defendants never specifically
                                           24
                                                responded to Plaintiffs’ requests and the authority they now cite in their Brief was
                                           25
                                                never put forth by the Defendants’ counsel during the meet and confer discussions
                                           26
                                                and letters (See Dec. of Sherman). Though none of Defendants authorities cited in
                                           27
                                                the Brief are applicable, bringing them to the attention of Plaintiffs’ counsel during
                                           28
                                                                                            2
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                                            1 the meet and confer process might have helped clarify the issue and avoided

                                            2 Defendants’ having to waste this Court’s time and resources in dealing with the

                                            3 Brief (See Dec. of Sherman).

                                            4          In truth, Plaintiffs have met all obligations required by the Rules of Civil
                                            5 Procedure, including those relating to damages calculations.                    Plaintiffs have
                                            6 disclosed all documents and witnesses they intend use to prove their case, including

                                            7 their burden of proof on damages (See Dec. of Sherman). Plaintiffs have served

                                            8 their initial Rule 26(a) disclosures, their supplemental Rule 26(e) disclosures, and

                                            9 their pre-trial disclosures. Plaintiffs have not failed to disclose, Rule 37 sanctions

                                           10
                                                are not proper or warranted, and the Defendants’ request in the Brief should be

                                           11
                                                summarily denied1.
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                                                      II. BRIEF PROCEDURAL HISTORY AND STATEMENT OF FACT
                                           12
                                                       The Parties to the action at bar have been engaged in multiple litigations in
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                                           13
                                                federal and state courts for almost three (3) years. In fact, this District Court granted
                                           14
                                                summary judgment in favor of Plaintiffs in a patent infringement litigation
                                           15
                                                prosecuted by the Defendants against Plaintiffs involving one of the patents at issue
                                           16
                                                that the Defendants are going to attempt to use to meet the burden of proof on their
                                           17
                                                affirmative defenses (See C.D. Cal. No. 2:16-cv-08586-RSWL-PLA). Many of the
                                           18
                                                same items for discovery were produced in that previous patent litigation as were
                                           19
                                                produced by both sides in this litigation (See Dec. of Sherman).
                                           20
                                                       Defendants served their initial Rule 26 disclosures on Plaintiffs and
                                           21
                                                propounded their written discovery on Plaintiffs in August 2018. With stipulated
                                           22
                                                extensions Plaintiffs responded to Defendants written requests for discovery in
                                           23
                                                October 2018 (See Dec. of Sherman). Defendants also responded to Plaintiffs’
                                           24
                                                discovery requests in August 2018 (See Dec. of Sherman). Plaintiffs served their
                                           25
                                                initial Rule 26 disclosures, with damages calculations, on Defendants shortly
                                           26

                                           27   1
                                               Given Defendants’ failure to truly meet and confer in good faith for this frivolous Brief, sanctions
                                           28 by this Court are warranted on this issue, if this Court deems it appropriate.
                                                                                                  3
                                                     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ BRIEF REGARDING DAMAGES CALCULATIONS
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                                            1 thereafter (See Dec. of Sherman). Plaintiffs then supplemented their responses to

                                            2 the Defendants written discovery requests and Rule 26 disclosures once before the

                                            3 close of fact discovery (See Dec. of Sherman). Those supplemental disclosures also

                                            4 contained a damages calculation.

                                            5         No other written discovery requests were propounded on Plaintiffs by
                                            6 Defendants. Defendants did not request Plaintiffs’ counsel to meet and confer in

                                            7 person or over the phone on any proposed discovery motions by Defendants (See

                                            8 Dec. of Sherman). Though both sides noticed depositions of each other’s principals,

                                            9 the Parties could not coordinate deposition schedules before the close of fact

                                           10
                                                discovery (See Dec. of Sherman).

                                           11
                                                      Defendants’ counsel first brought up the issue he has regarding the Plaintiffs’
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                                                disclosures of damages calculations at the mediation in this case, February 8, 2019,
                                           12
                                                just before the parties met and conferred for the final pre-trial conference (See Dec.
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                                           13
                                                of Sherman). After multiple phone calls and correspondence, Defendants’ counsel
                                           14
                                                cut off communications and gave up on a non-judicial remedy to the issue regarding
                                           15
                                                the Plaintiffs’ disclosures of damages calculations (See Dec. of Sherman).
                                           16
                                                Defendants’ request to file the Brief was their next action on the issue.
                                           17
                                                            III.   ARGUMENT IN OPPOSITION TO THE BRIEF
                                           18
                                                      Plaintiffs’ initial Rule 26(a) and supplemental Rule 26(e) disclosures state the
                                           19
                                                following in the section for Damages Calculations:
                                           20

                                           21                “Plaintiffs seek damages for patent infringement measured by the
                                                             Defendants’ sales of infringing products, a reasonable royalty for
                                           22
                                                             the sale of each infringing product, Plaintiff’s losses from
                                           23                Defendants’ sales of infringing products, as measured by
                                                             Plaintiffs’ retail price of each sale of Defendants’ infringing
                                           24
                                                             products.” (See Dec. of Sherman)
                                           25
                                           26         As the calculations of damages provided by the Plaintiffs in their Rule 26
                                           27 disclosures allowed Defendants to understand the methodology Plaintiffs would be

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                                                                                            4
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                                            1 using to calculate damages at trial, whereby Defendants could gauge their exposure,

                                            2 and whereas Defendants’ arguments in the Brief does not explain how Plaintiffs’

                                            3 disclosures are deficient or how the cited authority applies, the Brief should not be

                                            4 considered by this Court. Rule 37 sanctions against the Plaintiffs for failing to

                                            5 provide a damages calculation in their disclosures is not applicable for the action at

                                            6 bar.

                                            7      A. Defendants’ Could Gauge Their Potential Exposure From Plaintiffs’

                                            8          Disclosures

                                            9          “The ‘computation’ of damages required by Rule 26(a)(1)(C) contemplates

                                           10
                                                some analysis,” enough so that the opposing party can “understand the contours of

                                           11
                                                its potential exposure [...].” City & Cty. of San Francisco v. Tutor–Saliba Corp.,
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                                                218 F.R.D. 219, 221 (N.D. Cal. 2003). As a case cited by Defendants in the Brief
                                           12
                                                appropriately put it, “[a]s this language [Fed Rule of Civ. Pro. 26(a)(1)(A)(iii)]
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                                           13
                                                indicates, for disclosures purposes damages are determined, not by actual cost, but
                                           14
                                                by what the party claims. Patton v. Wal-Mart Stores, 2013 WL 6158461 at *4
                                           15
                                                (citing Sylla–Sawdon v. Uniroyal Goodrich Tire Co., 47 F.3d 277, 284 (8th
                                           16
                                                Cir.1995) (stating that the purpose of Rule 26(a) is to enable parties to prepare for
                                           17
                                                trial, not calculate liability)).
                                           18
                                                       In Patton, a magistrate judge granted the defendant’s Rule 37 sanctions
                                           19
                                                motion to exclude evidence of future medical expenses in a slip and fall case
                                           20
                                                because the plaintiff supplemented her disclosures six (6) times but did not list a
                                           21
                                                calculation or an actual number for future medical expenses until after the close of
                                           22
                                                discovery. Patton, 2013 WL 6158461 at *4. The plaintiff in Patton argued against
                                           23
                                                sanctions in that, through her disclosures, she did inform the defendant that her
                                           24
                                                medical expenses would increase as she scheduled future surgeries, and that
                                           25
                                                plaintiff did provide defendants with records and bills from her surgery center. The
                                           26
                                                court was not persuaded by the plaintiff’s argument, reasoning that the plaintiff
                                           27
                                                engaged in gamesmanship Rule 26 and 37 seeks to preclude because the plaintiff
                                           28
                                                                                           5
                                                     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ BRIEF REGARDING DAMAGES CALCULATIONS
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                                            1 recharacterized over $100,000 in future medicals as past damages. Id. Moreover,

                                            2 the plaintiff’s production of bills and records from her surgery did not satisfy the

                                            3 purpose of Rule 26 because it did not provide the defendant with any way to tell

                                            4 what the plaintiff was going to “claim” as damages. Id.

                                            5         In the case at bar, Plaintiffs’ disclosures do exactly what the plaintiff in
                                            6 Patton failed to do; calculate what the Plaintiffs are going to “claim” for their

                                            7 damages at trial. The calculations of damages in Plaintiffs’ disclosures in this case

                                            8 state that Plaintiffs will claim the amount of dollars Defendants realized from the

                                            9 sales of the accused products, as well as the number of accused products sold by the

                                           10
                                                Defendants multiplied by the Plaintiffs’ retail price of similar products as damages

                                           11
                                                (See Dec. of Sherman). Further, the Plaintiffs’ disclosures list witnesses who will
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                                                testify as to revenues taken in by both Plaintiffs and Defendants from these types of
                                           12
                                                products (See Dec. of Sherman).
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                                           13
                                                      Thus, Defendants had a basis for approximating the amount exposure they
                                           14
                                                would face because they knew the dollars they earned from the accused products (1
                                           15
                                                of 2 of Plaintiffs’ ways to calculate damages) and the Defendants also knew the
                                           16
                                                amount of accused products they sold (2 of 2 of Plaintiffs’ ways to calculate
                                           17
                                                damages). Albeit the second calculation method would require Defendants to
                                           18
                                                perform some investigation as to the retail price of similar units, but Defendants
                                           19
                                                were guided by the Plaintiffs’ disclosures as to the witnesses who would testify as
                                           20
                                                to the retail price of these products (See Dec. of Sherman). Hence, Plaintiffs’
                                           21
                                                disclosures provided Defendants with a clear starting point to determine their
                                           22
                                                potential exposure. The requirement and spirit of Rule 26 was met by Plaintiffs.
                                           23
                                                      In City and County of San Francisco, no sanctions based on calculations of
                                           24
                                                damages were even handed down. Rather, City and County states in general terms
                                           25
                                                that aggregating damages caused by multiple defendants under multiple contracts
                                           26
                                                for multiple causes of action is not compliant with what Rule 26 requires. City &
                                           27
                                                Cty. of San Francisco, 218 F.R.D. at 221-222. In fact, City and County falls in
                                           28
                                                                                           6
                                                    PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ BRIEF REGARDING DAMAGES CALCULATIONS
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                                            1 favor of the Plaintiffs in this case because the court there stated that specific dollar

                                            2 amounts are not required by Rule 26, nor are specifically detailed computations

                                            3 broken down by each alleged act for each alleged category of damages, as that is

                                            4 the type of information contention interrogatories are intended to discover. Id.

                                            5 Rather, City and County stands for the maxim that Rule 26 is intended to allow a

                                            6 defendant to do an analysis of exposure for settlement purposes by using a

                                            7 computation provided by the plaintiff. Id. at 221.

                                            8         As discussed above, the Plaintiffs in the action at bar, have done just as the

                                            9 court in City and County stated was the intent of Rule 26. The Plaintiffs’ disclosures

                                           10
                                                provide computations for the Defendants to follow in calculating the potential risk

                                           11
                                                they face by just doing some simple using variable that are already in their
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                                                possession and control.
                                           12
                                                      As such, Defendants’ position in the Brief fails as Plaintiffs have met their
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                                           13
                                                obligation under Rule 26.
                                           14
                                                   B. A Reasonable Royalty Is Not A Computation For Disclosures
                                           15
                                                      The model jury instruction on “Reasonable Royalty” talks about value of the
                                           16
                                                invention and hypothetical negotiations. These are very ambiguous concepts for a
                                           17
                                                jury that is not made for an equation. However, Plaintiffs have disclosed that their
                                           18
                                                witnesses will testify to the information which juries can consider for reasonable
                                           19
                                                royalties. Defendants did not want to take their depositions. Plaintiffs were
                                           20
                                                compliant with Rule 26.
                                           21
                                                                               IV.       CONCLUSION
                                           22
                                                      In conclusion, Plaintiffs request this Court deny Defendants’ requested relief.
                                           23

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                                                    PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ BRIEF REGARDING DAMAGES CALCULATIONS
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                                                Dated: March 27, 2019             ADLI LAW GROUP, P.C.
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                                            2

                                            3                                     By: /s/ Dariush G. Adli
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                                            4
                                                                                      Drew Sherman
                                            5                                         Joshua Eichenstein
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                                            6
                                                                                      Lubby Holdings LLC,
                                            7                                         Vaporous Technologies, LLC.
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                                                    PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ BRIEF REGARDING DAMAGES CALCULATIONS
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                                            1                             CERTIFICATE OF SERVICE
                                            2     I hereby certify that I electronically filed the foregoing document:
                                              PLAINTIFF LUBBY HOLDINGS, LLC.’S OPPOSITION TO
                                            3
                                              DEFENDANTS’ COURT REQUESTED BRIEF REGARDING DAMAGES
                                            4 CALCULATIONS

                                            5

                                            6
                                                with the Clerk of the Court for the United States District Court for the Central District
                                            7
                                                of California by using the CM/ECF system on March 27, 2019.
                                            8
                                                      Participants in the case who are registered CM/ECF users will be served by
                                            9
                                                the CM/ECF System.
                                           10
                                                      I certify under penalty of perjury under the laws of the United States of
                                           11
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                                                America that the foregoing is true and correct.
                                           12
                                                      Executed March 27, 2019 in Los Angeles, California.
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                                           13

                                           14

                                           15
                                                Dated: March 27, 2019                     /s/ Drew H. Sherman
                                                                                          Drew H. Sherman, Esq.
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